 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 1 of 22 PageID #:2856




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



FRANK CARBONE, ANDREW CORZO,
SAVANNAH ROSE EKLUND, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLENDER, BRANDON PIYEVSKY, KARA
SAFFRIN, and BRITTANY TATIANA WEAVER,                Case No. 1:22-cv-00125
individually and on behalf of all others similarly
situated,

                            Plaintiffs,              Hon. Matthew F. Kennelly

                     v.
                                                     CONFIDENTIALITY ORDER
BROWN UNIVERSITY, CALIFORNIA INSTITUTE
OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
THE TRUSTEES OF COLUMBIA UNIVERSITY IN
THE CITY OF NEW YORK, CORNELL
UNIVERSITY, TRUSTEES OF DARTMOUTH
COLLEGE, DUKE UNIVERSITY, EMORY
UNIVERSITY, GEORGETOWN UNIVERSITY, THE
JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
LAC, THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY, and
YALE UNIVERSITY,


                            Defendants.
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 2 of 22 PageID #:2857




                                    Confidentiality Order

       The parties to this Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:


       1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, electronically stored information, structured

data, deposition testimony and exhibits, and information derived directly therefrom (hereinafter

collectively “documents”), shall be subject to this Order concerning Confidential Information as

defined below. This Order shall apply to any named party to this action (including its officers,

directors, employees, retained experts, outside counsel, and their support staff), any third-party

that receives a subpoena for testimony, documents, or electronically stored information, and any

person or entity that obtains access to Confidential Information subject to this Order. This Order

is subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters

of procedure and calculation of time periods.


       2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by the

producing party or non-party.


               (a)    Documents Which May be Designated “CONFIDENTIAL.” Any party

or non-party may designate documents as CONFIDENTIAL if they contain: (a) information

prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, competitive, commercial, insurance or financial information that the party has

maintained as confidential; (d) medical information concerning any individual; (e) personal



                                                 2
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 3 of 22 PageID #:2858




identity information; (f) income tax returns (including attached schedules and forms), W-2 forms

and 1099 forms; (g) personnel or employment records of a person; or (h) any document protected

under the Family Educational Rights and Privacy Act (“FERPA”), including the application,

financial aid, or educational records of any applicant, student, or former student. Information or

documents that are available to the public may not be designated as Confidential Information.

Nothing herein shall be construed to suggest that the names of witnesses, potential witnesses,

deponents, subpoenaed parties or persons with potentially relevant information can be designated

“CONFIDENTIAL”; however, personal identity information and Personally Identifiable

Information (as defined under FERPA), including names, Social Security numbers, home

addresses, email addresses and phone numbers may be so designated.


               (b)     Documents Which May be Designated “ATTORNEYS’ EYES ONLY.”

Any party or non-party may designate documents as ATTORNEYS’ EYES ONLY if the

document contains highly sensitive trade secrets or other highly sensitive competitive or highly

sensitive confidential information and disclosure to another party or third party would result in

specific demonstrable harm to, or cause material harm to the legitimate interests of, the disclosing

party.


         3.    Designation.

               (a)     A party or non-party may designate a document as CONFIDENTIAL or

ATTORNEYS’ EYES ONLY for protection under this Order by placing or affixing those words

on the document and on all copies in a manner that will not interfere with the legibility of the

document. To the extent a document is produced in a form in which affixing the words

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” on the document is not practicable,


                                                 3
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 4 of 22 PageID #:2859




including documents produced in native format, the producing party or third-party may designate

the document as such by cover letter, slip sheet, or by affixing a label to the production media

containing the document. As used in this Order, “copies” includes electronic images, duplicates,

extracts, summaries or descriptions that contain the Confidential Information. The markings

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” shall be applied prior to or at the time

that the documents are produced or disclosed. Applying these markings “to a document does not

mean that the document has any status or protection by statute or otherwise except to the extent

and for the purposes of this Order. Any copies that are made of any documents marked

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” shall also be so marked, except that

indices, electronic databases or lists of documents that do not contain substantial portions or

images of the text of marked documents and do not otherwise disclose the substance of the

Confidential Information are not required to be marked.


                 (b)    The designation of a document as “CONFIDENTIAL” or “ATTORNEYS’

EYES ONLY” shall constitute a good faith determination by the designating party that the

document contains Confidential Information and meets the criteria for such designation as defined

in this Order.


       4.        Depositions. Deposition testimony is protected by this Order if designated as

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by denominating by page and line those

portions of the deposition which are to be considered “CONFIDENTIAL” and/or “ATTORNEYS’

EYES ONLY” within 15 calendar days of receiving the final transcript and exhibits and so

informing all parties in writing of the designation. Until the 15-day period has passed, the

deposition transcript in its entirety must be treated as if it were designated “ATTORNEYS’ EYES


                                                4
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 5 of 22 PageID #:2860




ONLY” and “CONFIDENTIAL” under the terms of this Order. Failure to timely designate

deposition testimony as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” does not

constitute a waiver of the right to subsequently do so.


       5.      Discovery of Non-Parties. Whenever a party seeks discovery by subpoena or any

other means from a non-party to this action, a copy of this Order shall accompany the subpoena

to allow the non-party to designate material as “CONFIDENTIAL” or “ATTORNEYS’ EYES

ONLY” and obtain the protections provided in this Order.


       6.      Protection of Confidential Information.

               (a)     General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph (b)

and (c) for any purpose whatsoever other than in this litigation, including any appeal thereof.

Confidential Information may be disclosed only to the named Plaintiff(s) and shall not be disclosed

to any other member of the proposed class, except as provided for in Paragraph 7.


               (b)     Limited       Disclosures       of     Information        Designated       as

“CONFIDENTIAL.” The parties and counsel for the parties shall not disclose or permit the

disclosure of any Confidential Information designated as “CONFIDENTIAL” to any third person

or entity except as set forth in subparagraphs (1)-(11). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information designated as

“CONFIDENTIAL”:


                       (1)     Counsel. Counsel for the parties and employees of counsel who
                               have responsibility for the action;



                                                   5
Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 6 of 22 PageID #:2861




                (2)    Parties. Individual parties and employees of a party but only to the
                       extent counsel determines in good faith that the employee’s
                       assistance is reasonably necessary to the conduct of the litigation
                       in which the information is disclosed;

                (3)    Unnamed Class Members. Confidential Information may only be
                       provided to unnamed class members after a class is certified, and
                       in that case, only to the extent counsel determines in good faith
                       that the unnamed class member’s assistance is reasonably
                       necessary to the conduct of the litigation in which the information
                       is disclosed, and only after such unnamed class member has
                       completed the certification contained in Attachment A,
                       Acknowledgment of Understanding and Agreement to Be Bound;

                (4)    The Court and its personnel;

                (5)    Court Reporters and Recorders. Court reporters and recorders
                       engaged for depositions;

                (6)    Contractors. Those persons specifically engaged for the limited
                       purpose of making copies of documents or organizing or
                       processing documents, including outside vendors hired to process
                       electronically stored documents;

                (7)    Consultants and Experts. Consultants, investigators, or experts
                       employed by the parties or counsel for the parties to assist in the
                       preparation and trial of this action but only after such persons have
                       completed the certification contained in Attachment A,
                       Acknowledgment of Understanding and Agreement to Be Bound;

                (8)    Witnesses at depositions. During their depositions or in
                       preparation for their deposition, witnesses in this action to whom
                       disclosure is reasonably necessary, provided that counsel for the
                       party intending to disclose the information has a good-faith basis
                       for believing that such information is relevant to events,
                       transactions, discussions, communications, or data about which the
                       witness is expected to testify or about which the witness may have
                       knowledge. Witnesses shall not retain a copy of CONFIDENTIAL
                       documents, except witnesses may receive a copy of all exhibits
                       marked at their depositions in connection with review of the
                       transcripts and may receive sealed copies of exhibits for a remote
                       deposition pursuant to any remote deposition stipulation or order
                       that the Court may subsequently enter. Pages of transcribed
                       deposition testimony or exhibits to depositions that are designated


                                         6
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 7 of 22 PageID #:2862




                            CONFIDENTIAL pursuant to the process set out in this Order
                            must be separately bound by the court reporter and may not be
                            disclosed to anyone except as permitted under this Order;

                     (9)    Author or recipient. The author, addressees, and recipient of the
                            CONFIDENTIAL document solely to the extent that they have
                            previously had lawful access to the Confidential Information;

                     (10)   Identified Persons. Any person who is referenced in the
                            document or whose conduct is purported to be identified in the
                            document, provided, that counsel for the party intending to
                            disclose the information has a good-faith basis for believing that
                            the CONFIDENTIAL document is relevant to events, transactions,
                            discussions, communications, or data about which the person has
                            knowledge, and disclosure to such person is limited to the portion
                            of the document in which the person or person’s conduct is
                            identified or referenced; and

                     (11)   Others by Consent. Other persons only by written consent of the
                            producing party or upon order of the Court and on such conditions
                            as may be agreed or ordered.

              (c)    Limited Disclosures of Information Designated as “ATTORNEYS’

EYES ONLY.” Except as otherwise authorized, the parties and counsel for the parties shall not

disclose or permit the disclosure of any Confidential Information designated “ATTORNEYS’

EYES ONLY” to any third person or entity except as set forth in subparagraphs (1)-(7). Subject

to these requirements, the following categories of person may be allowed to review documents

that have been designated “ATTORNEYS’ EYES ONLY”:


                     (1)    Counsel. Outside counsel and in-house counsel, including para-
                            professional or professional staff working at the direction of each,
                            for the parties who have responsibility for the action;

                     (2)    The Court and its personnel;

                     (3)    Court Reporters and Recorders. Court reporters and recorders
                            engaged for depositions;



                                              7
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 8 of 22 PageID #:2863




                       (4)     Contractors. Those persons specifically engaged for the limited
                               purpose of making copies of documents or organizing or
                               processing documents, including outside vendors hired to process
                               electronically stored documents;

                       (5)     Consultants and Experts. Consultants, investigators, or experts
                               employed by the parties or counsel for the parties to assist in the
                               preparation and trial of this action but only after such persons have
                               completed the certification contained in Attachment A,
                               Acknowledgment of Understanding and Agreement to Be Bound;

                       (6)     Author or recipient. The author, addressees, and recipient of the
                               ATTORNEYS’ EYES ONLY document solely to the extent that
                               they have previously had lawful access to such information; and

                       (7)     Others by Consent. Other persons only by written consent of the
                               producing party or upon order of the Court and on such conditions
                               as may be agreed or ordered.

               (d)     Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential and Attorneys’ Eyes Only

Information in accordance with the requirements in this Order.


       7.      Absent Class Member. Confidential Information may not be disclosed to absent

members of a certified class (each an “Absent Class Member”) who have not intervened or

otherwise appeared in this litigation, except under the circumstances described in Paragraphs 6(b)

and 6(c) of this Order. If, however, Confidential Information is contained in a filing with the Court

pursuant to Paragraph 10 of this Order, such filing may be disclosed to counsel for an Absent Class

Member (or the Absent Class Member if not represented) for the sole purpose of evaluating any

settlements affecting the Absent Class Member requesting such materials, provided that such

counsel, if any, and the Absent Class Member have completed the certification contained in

Attachment A to this Order.




                                                  8
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 9 of 22 PageID #:2864




       8.     Application & Financial Aid Materials; Education Records. Notwithstanding

any other provision of this Order, the terms of this Paragraph 8 apply to any production of

Application Materials, Financial Aid Materials, and Education Records.


              (a)    Definitions.


                     (1)     “Application Materials” includes all materials submitted by an
                             applicant for admission to a Defendant-university or received by
                             the Defendant-university from another person or entity regarding
                             the applicant’s application for admission, including but not limited
                             to: (i) the applicant’s Common Application or any other
                             application form, essays, transcripts, test scores, extracurricular
                             activities, and class rank; (ii) evaluations, assessments, and
                             comments regarding the applicant; (iii) letters of recommendation
                             regarding the applicant; and (iv) any documents containing the
                             applicant’s name, address, social security number, high school or
                             other institution attended, or other Personally Identifiable
                             Information. Such materials may be deemed CONFIDENTIAL or
                             ATTORNEYS EYES ONLY regardless of whether they are
                             subject to the protections of the Family Educational Rights and
                             Privacy Act, 20 U.S.C. § 1232g, and its implementing regulations,
                             34 C.F.R. pt. 99 (“FERPA”).

                     (2)     “Financial Aid Materials” includes all materials submitted by an
                             applicant for financial aid to a Defendant-university, or received
                             by the Defendant-university from another person or entity
                             regarding the applicant for financial aid or his or her family,
                             including but not limited to (i) the applicant’s FAFSA form or any
                             other application for financial aid including, but not limited to, the
                             College Scholarship Service (CSS) application, (ii) financial
                             information concerning the applicant or the applicant’s family,
                             including but not limited to tax information, tax documents, tax
                             returns, IRS forms, income records, bank records, investment
                             records, and business records; and (iii) any documents containing
                             the applicant’s or applicant’s family members’ names, addresses,
                             social security numbers, or other Personally Identifiable
                             Information. Such materials may be deemed CONFIDENTIAL or
                             ATTORNEYS EYES ONLY regardless of whether they are
                             subject to the protections of FERPA.

                     (3)     “Education Records” has the meaning set forth in 34 C.F.R.
                             § 99.3. The parties acknowledge that Education Records are

                                                9
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 10 of 22 PageID #:2865




                              subject to the protections of FERPA and the parties are obligated
                              to comply with FERPA. Education Records may be deemed
                              CONFIDENTIAL or ATTORNEYS EYES ONLY.

                      (4)     “Donation Records” include any documents that constitute,
                              embody, reflect, refer to, or pertain to the monetary amount and/or
                              name of the donor of a donation and also include emails, other
                              communications, and other documents related to a past, present or
                              future donation to a Defendant in connection with, or related to,
                              the application to, the admission to, or attendance at, the Defendant
                              of a family member, relative or friend of the donor.

                      (5)     The ability to designate Application Materials, Financial Aid
                              Materials, and Education Records as CONFIDENTIAL or
                              ATTORNEYS EYES ONLY under this Order does not waive any
                              objection to the production of such material on any ground
                              authorized by the Federal Rules of Civil Procedure.

               (b)     FERPA. The effect of FERPA on the production of Education Records,

Application Materials and Financial Aid Materials in this action shall be governed by by this Order

and the separate Order to be entered by the Court addressing FERPA compliance (“FERPA

Order”), which shall be submitted to the Court contemporaneously with this Order.


               (c)    Redaction Permitted. Application Materials, Financial Aid Materials, and

Education Records may be produced redacted to obscure the names, physical addresses (excluding

zip codes, which shall not be redacted), email addresses, telephone numbers, social security

numbers, and other Personally Identifiable Information concerning any applicant, applicant’s

family member, or student (collectively “Personal Information”), except in the case of Application

Materials, Financial Aid Materials, and Education Records concerning any named class

representative. Redaction of the names of donors and applicants/students shall not be permitted

on any portion of a Donation Record.


               (d)    Coding of Redacted Documents.


                                                10
Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 11 of 22 PageID #:2866




                   (i)     Structured Data.       All structured data comprising containing

    Education Records or Personally Identifiable Information (“Structured Education Data”)

    produced in this case shall be deidentified in accordance with FERPA. The parties will

    work together in good faith to identify a unique code associated with each applicant or

    student (an “Identification Code”) for use across Defendant universities which shall be

    applied to any Structured Education Data produced in this case in order to facilitate

    obtaining at a later date further information or documents regarding a particular applicant

    or student, including information that is initially redacted per this Paragraph 8 from the

    Structured Education Data, and to allow for comparison of data regarding the same student

    across multiple Defendants. That Identification Code shall be sufficient to de-identify the

    applicants or students under FERPA. If the parties fail to agree on such unique code by

    October 31, 2022, Defendants shall use the following code for financial aid applicants and

    students: (i) where available, the code for a particular student/applicant shall be the

    applicant’s or student’s CBFinAid ID associated with the College Scholarship Service

    (CSS) application, which shall also be associated with the Financial Aid Materials

    submitted by the parent of the student/applicant, if same exist; and (ii) where the applicant

    or student does not have a CBFinAid ID, the codes provided shall be the following numbers

    in the following sequence: the last four digits of the social security number, zip code, and

    the day and year of birth (xx/xxxx), without a number for the month of the birth date. If

    the parties fail to agree on such unique code by October 31, 2022, Defendants shall use the

    following code for non-financial aid applicants and students: the following numbers in the

    following sequence: the last four digits of the social security number, zip code, and the day

    and year of birth (xx/xxxx), without a number for the month of the birth date.



                                             11
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 12 of 22 PageID #:2867




                       (ii)    Non-Structured Data. Other than as set forth specifically in this

       Order to the contrary, Educational Records and documents other than Structured Education

       Data which contain Personally Identifiable Information may be produced with all

       Personally Identifiable Information redacted, but without the necessity of inserting an

       Identification Code to identify the applicant or student implicated, subject to subsection (h)

       below.


                       (iii)   Inadvertent Production of Personally Identifiable Information.

       Other than as specifically set forth in this Order to the contrary, in the event that a receiving

       party discovers that it has received or examined document(s) that are or reasonably may

       contain Personally Identifiable Information, the receiving party promptly shall (i) sequester

       the document(s), and (ii) within four business days of such discovery, notify the producing

       party of the possible production or disclosure by identifying the bates range(s) of the

       document the receiving party believes are or may contain Personally Identifiable

       Information (an “Production Notice”). Upon the producing party receiving a Production

       Notice, if the producing party determines that the subject documents contains Personally

       Identifiable Information, the receiving party shall immediately destroy or return the

       documents and the producing party shall promptly provide replacement documents with

       appropriate redactions.


                (e)    Management of Education Records, Personally Identifiable

Information and Personal Information. Should any party or non-party receive Education

Records. Personally Identifiable Information or Personal Information in the course of discovery,

the receiving party or non-party shall maintain those materials in a secure location and/or



                                                  12
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 13 of 22 PageID #:2868




protected electronic document or data repository that cannot be accessed by third persons or

entities that are prohibited from reviewing Confidential or Attorneys’ Eyes Only Information

pursuant to this Order.


               (f)        Obligations of the Parties. Other than as explicitly permitted by this Order,

the parties, their counsel, agents, and experts shall not attempt to identify, learn, or verify

Personally Identifiable Information concerning any applicant, applicant’s family member, or

student who is not a Plaintiff, unless the party asserts under Paragraph 8(h) below that they require

this information to support their claims or defenses. A party may not use Application Materials,

Financial Aid Materials, or other Education Records or documents containing Personally

Identifiable Information in connection with contacting any students or applicants unless that party

provides written notice of their intended use to the producing party and asserts they must do so to

support their claims or defenses.


               (h)        De-anonymization. In the event a party (the “Requesting Party”) asserts

they must (a) identify, learn or verify any Application Materials, Financial Aid Materials,

Education Records, or other Personally Identifiable Information beyond that permitted by this

Order, or (b) use Application Materials, Financial Aid Materials, Education Records or Personally

Identifiable Information to contact any students or applicants in order to support their claims or

defenses, the Requesting Party shall notify the producing party and the parties shall confer in good

faith within a reasonable time in light of the scope of the request in an effort to agree upon a

resolution of the request. If the parties are unable to reach an agreement, the Requesting Party may

make an appropriate motion to the Court to obtain the information or take the actions it seeks.

During the pendency of any such motion, the parties, their counsel, agents, and experts shall not



                                                    13
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 14 of 22 PageID #:2869




(i) other than as permitted by this Order, attempt to identify, learn, or verify any Application

Materials, Financial Aid Materials, Education Records, or other Personally Identifiable

Information, or (ii) use information learned from any Application Materials, Financial Aid

Materials, Education Records, or Personally Identifiable Information to contact any students or

applicants. Nothing in this Order prevents (a) the parties, their counsel, agents, and experts from

contacting or being contacted by students or applicants using means other than Application

Materials, Financial Aid Materials, or Education Records or (b) a producing party from using its

Application Materials, Financial Aid Materials, or Education Records in the ordinary course of

business.


                (i)     Directory Information Upon Certification of Class. To the extent a class

is certified in this litigation, the provisions of this Paragraph 8 shall not apply to the production of

“directory information,” as that term is defined by 34 C.F.R. § 99.3, sufficient to identify the

members of the certified class.


        9.      Inadvertent Failure to Designate. An inadvertent failure to designate a document,

transcript, or other material as Confidential Information does not, standing alone, waive the right

to so designate the document. If a party or non-party designates a document, transcript, or other

material as Confidential Information after it was initially disclosed, the receiving party, on

notification of the designation, must make a reasonable effort to assure that the document is treated

in accordance with the provisions of this Order. No party shall be found to have violated this Order

for failing to maintain the confidentiality of material during a time when that material has not been

designated Confidential Information, even where the failure to so designate was inadvertent and

where the material is subsequently designated Confidential Information.



                                                   14
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 15 of 22 PageID #:2870




       10.     Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as Confidential

Information in connection with a motion, brief or other submission to the Court must comply with

LR 26.2.


       11.     No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party or non-party may withhold information from discovery on the

ground that it requires protection greater than that afforded by this Order unless the party moves

for an order providing such special protection. The effect of FERPA on the production of

Education Records, Application Materials and Financial Aid Materials shall be governed by the

separate Order to be entered by the Court addressing FERPA compliance.


       12.     Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.


               (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party or non-party. In conferring, the challenging party must identify

the documents at issue by bates number, explain the basis for its belief that the confidentiality

designation was not proper and must give the designating party or non-party an opportunity to

review the designated material, to reconsider the designation, and, if no change in designation is

offered, to explain the basis for the designation. The designating party or non-party shall respond

to any request under this paragraph within a reasonable time given the scope of the request.



                                                15
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 16 of 22 PageID #:2871




               (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Any such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party or non-party, who shall have the right to respond to any motion filed by the

challenging party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order. Any motion challenging a

confidentiality designation must not publicly file the documents with contested designations nor

describe them publicly in a manner that would reveal Confidential Information.


       13.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.


       14.     Use of Confidential Information at Trial or Hearing. Nothing in this Order shall

be construed to affect the use of any document, material, or information at any trial or hearing

provided that the parties take necessary advance precautions to avoid the unnecessary disclosure

of Confidential Information. A party that intends to present Confidential Information at a hearing

or trial shall bring that issue to the Court’s, the parties, and the producing parties’ or non-parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential Information.

Producing non-parties shall be given notice of the intended use. The Court may thereafter make




                                                  16
  Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 17 of 22 PageID #:2872




such orders as are necessary to govern the use of such documents or information at a hearing or

trial.


         15.   Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

               (a)     If a receiving party is served with a subpoena or an order in another matter

that would compel disclosure of any material or document designated in this action as Confidential

Information, the receiving party must so notify the designating party or non-party, in writing, no

later than seven business days after receiving the subpoena or order. Such notification must include

a copy of the subpoena or court order.


               (b)     The receiving party also must, within three business days, inform in writing

the party who caused the subpoena or order to issue in the other litigation that some or all of the

material covered by the subpoena or order is the subject of this Order. In addition, the receiving

party must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.


               (c)     The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party or non-party in this case an opportunity

to try to protect its Confidential Information in the court from which the subpoena or order issued.

The designating party shall bear the burden and the expense of seeking protection in that court of

its Confidential Information, and nothing in these provisions should be construed as authorizing

or encouraging a receiving party in this action to disobey a lawful directive from another court.

The obligations set forth in Paragraph 15 remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

                                                 17
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 18 of 22 PageID #:2873




          17.   Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.


                (b)    Return or Destruction of Confidential Material. Within thirty calendar

days after dismissal or entry of final judgment not subject to further appeal, all Confidential

Information and documents marked “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”

under this Order, including copies as defined in Paragraph 3(a), shall be returned to the producing

party or destroyed with certification of destruction provided to the producing party unless: (1) the

document has been offered into evidence or filed with the Court, without restriction as to

disclosure, unless the document is an Education Record or contains Personal Information, in which

case the document shall be returned to the producing party or destroyed pursuant to this paragraph;

or (2) the Confidential Information is included in an e-mail or an attachment to an e-mail or

contained in deposition transcripts or drafts or final expert reports, unless the Confidential

Information is an Education Record or includes Personal Information, in which case the document

containing the Confidential Information shall be returned to the producing party or destroyed

pursuant to this Paragraph 17. Any Confidential Information that is retained pursuant to (1) or (2)

shall not be accessed or used for any purpose other than this litigation.


                (c)    Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information, and (2) all documents filed with the Court including those filed under seal. Any


                                                 18
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 19 of 22 PageID #:2874




retained Confidential Information shall continue to be protected under this Order and shall not be

accessed or used for any purpose other than this litigation. Attorneys may use their work product

in subsequent litigation, provided that such work product does not contain, and is not derived from,

Confidential Information.


       18.     Order Subject to Modification. This Order shall be subject to modification by the

Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter. Any motion to modify shall certify that notice has been provided to parties and

third-parties that have produced Confidential Information pursuant to this Order.


       19.     No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

herein shall be construed or presented as a judicial determination that any document or material

designated Confidential Information by counsel or the parties is admissible as evidence for any

purpose in this litigation or any other proceeding, or is entitled to protection under Rule 26(c) of

the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a

specific document or issue.


       20.     Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms or by execution of Attachment A.




                                                 19
 Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 20 of 22 PageID #:2875




SO ORDERED.


Dated: Nov. 7, 2022                                                    _______
                                            Hon. Matthew F. Kennelly




                                       20
   Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 21 of 22 PageID #:2876



                                        ATTACHMENT A


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

FRANK CARBONE, ANDREW CORZO         )
SAVANNAH ROSE EKLUND, SIA HENRY,    )
ALEXANDER LEO-GUERRA, MICHAEL       )
MAERLENDER, BRANDON PIYEVSKY,       )
KARA SAFFRIN, and BRITTANY TATIANA  )
WEAVER, individually and on behalf of all
                                    )
others similarly situated,          )
                                    )                       Civil No. 22-cv-00125
           Plaintiffs               )
                                    )                       Hon. Matthew F. Kennelly
                    v.              )
                                    )
BROWN UNIVERSITY, CALIFORNIA        )
INSTITUTE OF TECHNOLOGY, UNIVERSITY )
OF CHICAGO, THE TRUSTEES OF         )
COLUMBIA UNIVERSITY IN THE CITY OF  )
NEW YORK, CORNELL UNIVERSITY,       )
TRUSTEES OF DARTMOUTH COLLEGE,      )
DUKE UNIVERSITY, EMORY UNIVERSITY, )
GEORGETOWN UNIVERSITY, THE JOHNS    )
HOPKINS UNIVERSITY, MASSACHUSETTS )
INSTITUTE OF TECHNOLOGY,            )
NORTHWESTERN UNIVERSITY,            )
UNIVERSITY OF NOTRE DAME DU LAC,    )
THE TRUSTEES OF THE UNIVERSITY OF   )
PENNSYLVANIA, WILLIAM MARSH RICE    )
UNIVERSITY, VANDERBILT UNIVERSITY,  )
and YALE UNIVERSITY,                )
                                    )
           Defendants               )



                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND


       The undersigned hereby acknowledges that he/she has read the Confidentiality Order entered

in the above-captioned action and attached hereto, understands the terms thereof, and agrees to be
    Case: 1:22-cv-00125 Document #: 244 Filed: 11/07/22 Page 22 of 22 PageID #:2877



bound by its terms. The undersigned submits to the jurisdiction of the United States District Court

for the Northern District of Illinois in matters relating to the Confidentiality Order and understands

that the terms of the Confidentiality Order obligate him/her to use materials designated as

Confidential Information in accordance with the Order solely for the purposes of the above-

captioned action, and not to disclose any such Confidential Information to any other person, firm or

concern.

         The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

Name:              ______________________________________

Job Title:         ______________________________________

Employer:          ______________________________________

Business Address:                  ___________________________

                                    ___________________________

                                    ___________________________



Date: _________________                  ___________________________

                                          Signature




356790
